Case 23-12825-MBK             Doc 480      Filed 05/10/23 Entered 05/10/23 19:54:41                     Desc Main
                                         Document      Page 1 of 14


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 New Mexico and Mississippi

                               UNITED STATES BANKRUPTCY COURT
                                    DISTRICT OF NEW JERSEY

                                                           Chapter 11
     In re:
     LTL MANAGEMENT LLC,1                                  Case No.: 23-12825 (MBK)
                              Debtor.
                                                           Judge: Michael B. Kaplan


     MOTION OF THE STATE OF NEW MEXICO AND THE STATE OF MISSISSIPPI TO
      DISMISS THE SECOND BANKRUPTCY PETITION OF LTL MANAGEMENT LLC
         FOR CAUSE, PURSUANT TO SECTION 1112(B) OF THE UNITED STATES
     BANKRUPTCY CODE (11 U.S.C. §§ 101, ET SEQ.), AND JOINDER IN MOTIONS TO
                   DISMISS FILED BY CERTAIN OTHER PARTIES

 TO: HONORABLE MICHAEL B. KAPLAN, CHIEF JUDGE
     UNITED STATES BANKRUPTCY COURT

              The States of New Mexico and Mississippi, parties-in-interest herein (collectively,

 “States”), by and through their counsel, Gibbons P.C., hereby submit this: (i) Motion to Dismiss

 the Second Bankruptcy Petition of LTL Management, LLC (“Debtor” or “LTL”) for cause,

 pursuant to Section 1112(b) of the United States Bankruptcy Code (11 U.S.C. §§ 101, et seq.)




 1
  The last four digits of the Debtor’s taxpayer identification number are 6622. The Debtor’s address is 501 George
 Street, New Brunswick, New Jersey 08933.
Case 23-12825-MBK            Doc 480       Filed 05/10/23 Entered 05/10/23 19:54:41                     Desc Main
                                         Document      Page 2 of 14



 and (ii) Joinder in Certain Other Motions To Dismiss (“Motion”)2 and, in support thereof,

 respectfully represent as follows:

                                      PRELIMINARY STATEMENT

         1.       On January 30, 2023, the United States Court of Appeals for the Third Circuit

 dismissed LTL’s initial bankruptcy case (hereafter, “LTL 1.0”) because LTL failed to

 demonstrate the “immediate” “financial distress” that is a necessary component of a “good faith”

 bankruptcy filing. In re LTL Management, LLC, 64 F.4th 84, 93, 100-11 (3d Cir. 2023). Based

 on the record before it, the Third Circuit concluded that LTL enjoyed access to funding more

 than adequate to address the claims of its creditors, including $61.5 billion in funding available

 pursuant to a funding agreement (“2021 Funding Agreement”), which was backed by both

 LTL’s ultimate parent, Johnson and Johnson (“J&J”), and its immediate parent, then known as

 Johnson & Johnson Consumer, Inc. (“New JJCI”) and which the Third Circuit characterized as

 an “ATM disguised as a contract.” Id. at 109. The Third Circuit warned LTL against attempting

 to manufacture financial distress by terminating the 2021 Funding Agreement, opining that such

 a transparent maneuver would be vulnerable to avoidance as a fraudulent transfer. LTL

 Management, 64 F.4th at 109 n.18.

         2.       The Third Circuit considered additional factors in its finding of LTL’s bad faith in

 filing LTL 1.0. Those factors included: (i) a lack of evidentiary support for the actual value of

 LTL’s talc liabilities, (ii) LTL’s admission that it could pay its debts as they came due; and (iii)

 the limited nature of LTL’s business operations. As to the latter factor, LTL’s business

 operations have consisted of serving as a debtor in bankruptcy solely to manage and defend talc-

 related claims (thereby insulating J&J’s assets from those claims) and overseeing the operations


 2
  Pursuant to Rule 9013-1(a)(3) of the Local Rules of the United States Bankruptcy Court for the District of New
 Jersey, the States rely on the legal bases set forth in this Motion in lieu of filing a separate memorandum.


                                                         2
Case 23-12825-MBK           Doc 480     Filed 05/10/23 Entered 05/10/23 19:54:41            Desc Main
                                      Document      Page 3 of 14



 of its subsidiary, Royalty A&M, which owns a portfolio of royalty streams. Consequently, the

 Third Circuit’s failure to discern any legitimate purpose for the LTL 1.0 filing should have come

 as a surprise to no one.

        3.      Following the issuance of the Third Circuit’s opinion, LTL unsuccessfully sought

 a rehearing en banc and a stay of the Third Circuit’s mandate to enable it to file a petition for a

 writ of certiorari to the United States Supreme Court. In reality, however, LTL’s exercise of its

 appellate remedies merely served as a smoke screen for a transparent attempt at an end-run

 around the Third Circuit’s decision by manufacturing the semblance of financial distress. In a

 blatant violation of the Third Circuit’s direction against doing so (see 64 F.4th at 109 n.18, 110)

 and while still a debtor in possession prior to the dismissal of LTL 1.0 by this Court, LTL

 terminated the 2021 Funding Agreement and replaced it with a far less generous funding

 arrangement (hereafter, “2023 Funding Agreement”). See the Declaration of John K. Kim in

 Support of First Day Pleadings (“Kim Decl.), ¶ 78; Dkt. No. 4, ¶ 78. New JJCI (renamed

 Johnson & Johnson Holdco (NA) Inc. (“Holdco”)) transferred its lucrative consumer products

 business to its corporate parent, thereby reducing its ability to provide backstop funding to LTL.

 Kim Decl. ¶ 76; Dkt. No. 4, ¶ 78. LTL’s transparent maneuvering fails utterly. Even LTL’s

 Chief Legal Officer, John K. Kim, is constrained to acknowledge LTL’s current ability to pay its

 debts as they come due. See Transcript of the Debtor’s Motion for an Order . . . (I) Declaring

 that the Automatic Stay Applies or Extends to Certain Actions Against Non-Debtors or (II) or

 Preliminarily Enjoining Such Actions and (iii) Granting a Temporary Restraining Order Ex

 Parte Pending a Hearing on A Preliminary Injunction [Adversary Docket 2], etc. (“April 18th

 Transcript”) at 180:20-25; Dkt. No. 286-4.




                                                   3
Case 23-12825-MBK         Doc 480     Filed 05/10/23 Entered 05/10/23 19:54:41              Desc Main
                                    Document      Page 4 of 14



        4.      LTL’s abusive scheme went public in early April 2023. On March 31, 2023, the

 Third Circuit issued its Mandate. U.S.C.A. Third Circuit Dkt. No. 181-1. On April 4, 2023, at

 1:49 P.M., this Court issued its order dismissing LTL 1.0. Bankr. Case No. 21-30589 (MBK)

 Dkt. No. 3938. Only two hours and eleven minutes later, LTL filed its bankruptcy petition in the

 instant case (hereafter, “LTL 2.0”). Dkt. No. 1. As demonstrated in the Kim Decl., ¶ 8, LTL’s

 goal in LTL 2.0 remains the same as in LTL 1.0—to serve as the vehicle for managing and

 defending talc-related liabilities, all for the benefit of J&J and Holdings. Dkt. No. 4, ¶ 8.

        5.      The bad faith of the LTL 2.0 filing is amply demonstrated in the pleadings in

 support of motions to dismiss the case filed by: (i) the Official Committee of Talc Claimants

 (“Talc Committee”) [Dkt. No. 286]; (ii) the Ad Hoc Committee of States Holding Consumer

 Protection Claims (“Ad Hoc Committee”) [Dkt. No. 350]; (iii) the United States Trustee for this

 Region (the “U.S. Trustee”) [Dkt. No. 379]; and (iv) Arnold & Itkin (on behalf of certain talc

 claimants) [Dkt. No. 384] (collectively, the “Movants”). For that reason, the States join in the

 Movants’ motions to dismiss the LTL 2.0 filing. That being the case, the States, while adopting

 many of their respective arguments, do not intend to reiterate the factual and legal discussions by

 the Movants in this Motion. Instead, the States will focus on the issue of state sovereignty. In

 that regard, the States will demonstrate that the bad faith attending the filing of LTL 2.0, on its

 own, would render any attempt by LTL to use LTL 2.0 to interfere with the States’ enforcement

 of their police and regulatory powers against third parties and any claims arising therefrom (e.g.,

 by third-party releases) an affront on state sovereignty, particularly state sovereign immunity

 requiring, in and of itself, the dismissal of LTL 2.0.




                                                   4
Case 23-12825-MBK         Doc 480     Filed 05/10/23 Entered 05/10/23 19:54:41              Desc Main
                                    Document      Page 5 of 14



                                  JURISDICTION AND VENUE

           6.   This Court has jurisdiction over this Motion pursuant to 28 U.S.C. §§ 1334 and

 157(b)(2) and the Amended Standing Order of Reference from the United States District Court

 for the District of New Jersey, dated September 18, 2012. Venue is proper before this Court

 pursuant to 28 U.S.C. §§ 1408 and 1409. The Motion is a core proceeding pursuant to 28 U.S.C.

 § 157(b)(2), and the Bankruptcy Court may enter a final order adjudicating this Motion

 consistent with Article III of the United States Constitution. The statutory basis for the relief

 requested herein is section 1112(b) of the Bankruptcy Code.

                                     BACKGROUND FACTS

           7.   In support of the Motion, the States adopt and incorporate herein by reference the

 factual statements contained in the pleadings filed in support of their respective motions to

 dismiss by: (i) the Talc Committee; (ii) the Ad Hoc Committee; (iii) the U.S. Trustee; and (iv)

 Arnold & Itkin.

           8.   As of the Petition Date, the only “claims” the States assert against LTL are the

 “claims” manufactured by LTL by way of the divisional merger, a/k/a “Texas Two-Step.” The

 States, on the other hand, assert no claims against LTL—only against non-debtors J&J and

 Holdings. The only “dealings” the States have had with LTL are in connection with its

 bankruptcy filings. Established only in 2021, LTL could not have engaged in the violations of

 the States’ consumer protection statutes the States seek to enforce in their respective state court

 actions. In sum, J&J and Holdings remain the alleged “bad actors” against whom the States seek

 relief.

           9.   Notwithstanding that the States have no claim against LTL, they are undoubtedly

 parties-in-interest. At the April 18, 2023 hearing (“April 18th Hearing”) on LTL’s motion in




                                                   5
Case 23-12825-MBK            Doc 480      Filed 05/10/23 Entered 05/10/23 19:54:41                       Desc Main
                                        Document      Page 6 of 14



 LTL Management, LLC v. Those Parties Listed on Appendix A to Complaint, et al. (Adv. Pro.

 No. 23-01092 (MBK)) for an order applying or extending the automatic stay against non-debtors

 and related relief, LTL, through counsel, addressed the outline of a proposed plan of

 reorganization in LTL 2.0. As widely reported by both J&J and various media outlets, one

 component of the proposed plan is a limited fund of $400 million to address the governmental

 claims of all states Attorneys General (“State AG Claims”).3 April 18th Transcript at 199:15-18

 (and the referenced PowerPoint slide); 336:9-25. Dkt. No. 286-4. Apparently, the $400 million

 is intended as a cap on such claims. Id. at 336:20-22; Dkt. No. 286-4. Hence, LTL must

 contemplate the inclusion of channeling injunctions against State AG Claims and third-party

 releases of such parties as J&J.

                       RELIEF REQUESTED AND REASONS THEREFOR

          10.     In support of the Motion, the States adopt and incorporate herein the legal

 arguments contained in the pleadings filed in support of their respective motions to dismiss by:

 (i) the Talc Committee; (ii) the Ad Hoc Committee; (iii) the U.S. Trustee; and (iv) Arnold &

 Itkin and join their motions to dismiss LTL’s petition in this case because it has been filed in bad

 faith.

          11.     As amply demonstrated below, LTL’s filing of a second chapter 11 to (a)

 “manufacture” claims against LTL, and (b) summarily limit and cap claims against not only

 itself, but solvent non-debtors, most notably J&J, constitutes, inter alia, an affront to the States’

 sovereignty, particularly their sovereign immunity, and, for this reason alone, the LTL 2.0

 petition must be dismissed by this Court.




 3
  The Debtor only refers to State AG Claims, though the $400 million would necessarily include federal
 governmental and local municipality claims.


                                                         6
Case 23-12825-MBK         Doc 480     Filed 05/10/23 Entered 05/10/23 19:54:41               Desc Main
                                    Document      Page 7 of 14



        12.     The Constitution “specifically recognizes the [s]tates as sovereign entities.”

 Seminole Tribe of Florida v. Florida, 517 U.S. 44, 71 n.15 (1996); accord Blatchford v. Native

 Village of Noatak, 501 U.S. 775, 779 (1991) (“[T]he States entered the federal system with their

 sovereignty intact”). As such, the states “maintain certain attributes of sovereignty, including

 sovereign immunity.” In re Venoco LLC, 998 F.3d 94, 101 (3d Cir. 2021) (citations omitted).

 The Supreme Court “has consistently held that an unconsenting State is immune from suits

 brought in the federal courts by her own citizens as well as by the citizens of another state.”

 Edelman v. Jordan, 415 U.S. 651, 662-63 (1974). “[A]s the Constitution’s structure, its history,

 and the authoritative interpretations by this Court make clear, the States’ immunity from suit is a

 fundamental aspect of the sovereignty which the states enjoyed before the ratification of the

 Constitution, and which they retain today (either literally or by virtue of their admission into the

 Union upon an equal footing with the other [s]tates) except as altered by the plan of the

 Convention or certain constitutional Amendments.” Alden v. Maine, 527 U.S. 706, 713 (1999).

        13.     Like its predecessor, LTL 2.0 implicates core aspects of state sovereign immunity,

 because it seeks to use the federal bankruptcy court (a forum to which the States have not

 consented) to resolve actions grounded in state laws and in turn claims asserted by the States

 against non-debtor third parties. In Cent. Virginia Cmty. Coll. v. Katz, 546 U.S. 356 (2006)

 (“Katz”), the Supreme Court concluded that “[s]tates agreed in the plan of the [Constitutional]

 Convention not to assert any sovereign immunity defense they might have had in proceedings

 brought pursuant to ‘Laws on the subject of Bankruptcies’” (id. at 377) but that “[t]he scope of

 this consent was limited.” Id. at 378. The Katz Court expressly did not “mean to suggest that

 every law labeled a ‘bankruptcy’ law could, consistent with the Bankruptcy Clause, properly

 impinge on state sovereign immunity.” Id. at 378 n.15. The Supreme Court also recognized that




                                                   7
Case 23-12825-MBK          Doc 480     Filed 05/10/23 Entered 05/10/23 19:54:41                Desc Main
                                     Document      Page 8 of 14



 bankruptcy jurisdiction is, at its core, in rem. Id. at 362 (citing Gardner v. New Jersey, 329 U.S.

 565, 574 (1947) (“The whole process of proof allowance and distribution is, shortly, an

 adjudication of interests claimed in a res.”). By ratifying the Bankruptcy Clause, therefore, the

 States waived their sovereign immunity only to proceedings that further a bankruptcy court’s

 exercise of its in rem jurisdiction over property of the debtor and the bankruptcy estate. In re

 Venoco LLC, 998 F.3d at 99 (citing Katz, 546 U.S. at 378).

         14.     In determining the scope of that limited subordination of state sovereign

 immunity, the Katz Court looked to the contemporary legal context in which the Bankruptcy

 Clause was ratified, with which the Framers of the Constitution had to have been familiar. Katz,

 546 U.S. at 362. The Framers would have understood the “critical features” of a bankruptcy

 proceeding to be: (i) the bankruptcy court’s exercise of exclusive jurisdiction over the debtor’s

 assets; (ii) the equitable distribution of those assets; and (iii) the discharge of the debtor. Id. at

 363-64 (citations omitted); Venoco, 998 F.3d at 105. The Framers also would have understood

 that states were bound by a debtor’s discharge. Katz, 546 U.S. at 364 (citations omitted). They

 would have also understood that the Bankruptcy Clause provided in certain limited respects, for

 more than simple adjudication of the rights in the res” (id. at 370 (emphasis added)), including

 certain orders ancillary to in rem adjudications, such as: (i) orders imprisoning recalcitrant third

 parties in possession of assets of the debtor; (ii) orders directing turnover of a debtor’s assets;

 (iii) avoidance and recovery of fraudulent or preferential transfers; and (iv) the issuance of writs

 of habeas corpus releasing debtors from prison. Id. at 370-74 (citations omitted). In sum, the

 Framers’ understanding of bankruptcy would have been limited to liquidation proceedings not

 unlike current Chapter 7 proceedings.




                                                    8
Case 23-12825-MBK             Doc 480      Filed 05/10/23 Entered 05/10/23 19:54:41                      Desc Main
                                         Document      Page 9 of 14



         15.      Wholly lacking from such an understanding of bankruptcy is the concept of

 reorganizing and restructuring a business entity. Only in 1938 did Congress amend the

 Bankruptcy Reform Act of 1898 to include reorganization and restructuring proceedings.

 Bradley Hansen, “Bankruptcy Law in the United States,” Economic History Services, EH.net

 (last visited Aug. 3, 2022). The complex reorganizations of the last forty (40) years would,

 therefore, have been far outside the Framers’ understanding of bankruptcy, as would injunctions

 of litigation between non-debtors, like the States’ litigation of consumer protection claims

 against non-debtor entities like J & J. See, e.g., Village of Rosemont v. Jaffe, 482 F.3d 926, 937

 (7th Cir. 2007) (finding “nothing in either Katz or [Tennessee Student Assistance Corp. v. Hood,

 541 U.S. 440 (2004) (“Hood”)] that undermines the state’s sovereign immunity” from actions to

 enjoin the state from exercising its regulatory authority over a gaming license).

         16.      The Third Circuit has distilled three (3) specific factors from Katz to be used in

 the state sovereign immunity analysis of a bankruptcy case, matter or proceeding. They are

 whether a proceeding involves: (i) the exercise of exclusive jurisdiction over all of the debtor’s

 property; (ii) the equitable distribution of that property among the debtor’s creditors; and (iii) the

 ultimate discharge that gives the debtor a ‘fresh start’ by releasing him, her or it from old debts.”

 Venoco, 998 F.3d at 104. In doing so, the Third Circuit rejected dictum in Allen v. Cooper, 994

 S.Ct. 994, 1002 (2020) concerning the waiver of state sovereign immunity under the Bankruptcy

 Clause, stating that the dictum does not mean that “sovereign immunity can never be asserted

 before a bankruptcy court for [Katz] was clear that it was deemed waived in some but not all

 bankruptcy proceedings.” Venoco, 998 F.3d at 104.4 See also In re Philadelphia Entm’t & Dev.


 4
   Of even more importance, Allen v. Cooper considered only whether the Copyright Remedy Clarification Act of
 1990 waived states’ sovereign immunity. The Court addressed bankruptcy and the Bankruptcy Clause only to reject
 their applicability to the case before it. The Court was not required, and did not address, the scope of the limited
 waiver of state sovereign immunity arising out of the Bankruptcy Clause.


                                                          9
Case 23-12825-MBK             Doc 480 Filed 05/10/23 Entered 05/10/23 19:54:41                            Desc Main
                                     Document    Page 10 of 14



 Partners LP, 860 Fed. App’x 25, 28 (3d Cir. 2021) (debtor’s action to avoid state’s pre-petition

 revocation of a gaming license as a fraudulent transfer was barred by sovereign immunity

 because the debtor could not show that it had a property interest in the license and, for that

 reason, the action did not further the bankruptcy court’s in rem bankruptcy jurisdiction).

          17.      Any reliance on the waiver of state sovereign immunity in 11 U.S.C. § 106(a) to

 expand the scope of the narrow waiver of sovereign immunity under the Bankruptcy Clause

 would be misplaced. The Supreme Court expressly did not address the constitutionality of the

 application of § 106(a) to the states in Katz, relying instead on the Bankruptcy Clause and its

 historical context.5 The Third Circuit held in In re Sacred Heart Hospital of Norristown, 133

 F.3d 237 (3d Cir. 1998) that the waiver of the states' sovereign immunity in section 106(a) is

 unconstitutional, at least in actions to recover money or property from the states. Id. at 245.

 Subsequently, in Venoco, the Third Circuit stated that Hood and Katz had “displaced” its earlier

 opinion, but also acknowledged that Sacred Heart Hospital has never been “explicitly

 overturned.” Having not been “explicitly overturned,” Sacred Heart Hospital’s holding remains

 viable and controlling on the issue of state sovereign immunity, and for that reason, Katz and

 Venoco, and not §106(a), govern the scope of the waiver of state sovereign immunity with

 respect to bankruptcy matters.

          18.      Ignoring the limits of the waiver of sovereign immunity arising from the

 Bankruptcy Clause increases the possibility of interference with states’ exercise of their police

 powers to protect public health, welfare and safety. The Bankruptcy Code is explicit and clear

 that the automatic stay simply does not apply to government regulatory actions. 11 U.S.C. §



 5
  Similarly, in Hood, relied on the bankruptcy court’s unquestioned jurisdiction over the estate res to hold that
 sovereign immunity did not bar the bankruptcy court from discharging a student loan guaranteed by the State of
 Tennessee. Id. at 448. In Hood, the Court expressly declined to address the constitutionality of §106(a). Id. at 445.


                                                          10
Case 23-12825-MBK         Doc 480 Filed 05/10/23 Entered 05/10/23 19:54:41                     Desc Main
                                 Document    Page 11 of 14



 362(b)(4) (excluding “an action or proceeding by a governmental unit . . . to enforce such

 governmental unit’s . . . police and regulatory power”); In re Nortel Networks, Inc., 669 F.3d

 128, 141 (3d Cir. 2011); U.S. v. Nicolet, Inc., 857 F.2d 202, 208 (3d Cir. 1988) (excepting, inter

 alia, “consumer protection” actions under “the police and regulatory exemption”); In re Halo

 Wireless, Inc., 684 F.3d 581, 587 (5th Cir. 2012) (“This exception discourages debtors from

 submitting bankruptcy petitions either primarily or solely for the purpose of evading impending

 governmental efforts to invoke the governmental police powers to enjoin or deter ongoing debtor

 conduct which would seriously threaten the public safety and welfare.”). It is well established

 that “the automatic stay provision contained in subsections 362(b)(4)-(5) should itself be

 construed broadly,” and “the automatic stay provision should, whenever possible, be read in

 favor of the States.” Penn Terra Ltd. v. Dep’t of Envtl. Res., Commonwealth of Pennsylvania,

 733 F.2d 267, 273 (3d Cir. 1984) (emphases added) (“No more obvious exercise of the State’s

 power to protect the health, safety, and welfare of the public can be imagined.”). The outline of

 the contemplated LTL 2.0 plan as presented at the April 18th Hearing, indicates that the States,

 among others, will be subject to channeling injunctions and third-party releases. As such, the

 ability of the States to exercise their police and regulatory powers for consumer protection are

 very much in jeopardy if such a plan were subsequently confirmed by this Court.

        19.     As amply demonstrated above and in the pleadings filed by the Talc Committee,

 the Ad Hoc Committee, the U.S. Trustee and Arnold & Itkin, the LTL 2.0 petition is incurably

 tainted with bad faith. It has become clear that LTL used its pursuit of appellate rights as a

 smokescreen for its efforts to create the charade of the financial distress necessary for a

 legitimate bankruptcy filing. While still a debtor in LTL 1.0 and without notice to creditors and




                                                  11
Case 23-12825-MBK             Doc 480 Filed 05/10/23 Entered 05/10/23 19:54:41                            Desc Main
                                     Document    Page 12 of 14



 parties in interest or the approval of this Court,6 LTL disposed of its rights to $61.5 billion in

 funding by terminating the 2021 Funding Agreement and entering into the less generous 2023

 Funding Agreement. Meanwhile, Holdco, which (under the name of New JJCI) had backstopped

 the 2021 Funding Agreement, transferred its profitable consumer products business to its parent,

 thereby reducing its value as a backstop funder. All of this was done in defiance of the Third

 Circuit’s warning to LTL not to attempt the manufacture the semblance of a financial distress

 that did not, in fact, exist. In addition to purportedly capping the value of the States’ claims,

 LTL also proposes to subject the States, among others, to channeling injunctions and third-party

 releases to the detriment of their exercise of their police and regulatory powers related to

 consumer protection.

          20.      Incurably tainted by bad faith, LTL 1.0 and now 2.0 is not the type of bankruptcy

 case envisioned by the Supreme Court in Katz, the Third Circuit in Venoco or even the Framers

 of the Constitution and the Bankruptcy Clause. In fact, in the absence of genuine financial

 distress, the LTL 2.0 filing is a sham, a blatant abuse of the remedies available under the

 Bankruptcy Code. The abusive nature of the LTL 2.0 filing is underscored by LTL’s Chief

 Legal Officer, Mr. Kim concession that LTL has access to sufficient funds to pay its obligations

 as they become due. In other words, there was no need to file LTL 2.0. Nevertheless, the

 proposed plan outlined by Mr. Kim at the April 18th Hearing provides for capping all state

 governmental claims at $400 million, which will require the imposition of channeling injunctions

 and third-party releases on the States. Those remedies fall far outside the scope of the waiver of

 sovereign immunity arising out of the Bankruptcy Clause and interfere with the States’ exercise

 of their police powers to protect public health and safety, more specifically in the area of


 6
  The States contend that this transaction was clearly outside the ordinary course of LTL’s business and, at
 minimum, required court approval under § 363 of the Bankruptcy Code.


                                                          12
Case 23-12825-MBK          Doc 480 Filed 05/10/23 Entered 05/10/23 19:54:41                  Desc Main
                                  Document    Page 13 of 14



 consumer protection. The bad faith of the LTL 2.0 filing and the impropriety of the anticipated

 injunctions and third-party releases in an LTL 2.0 plan of reorganization also constitute an

 affront to state sovereignty, particularly state sovereign immunity.

        21.       Because they would violate the States’ sovereign immunity, the inclusion of the

 anticipated channeling injunctions and third-party releases in any plan LTL proposes will

 preclude its confirmation over the States’ objection. See 11 U.S.C. § 1129(a)(3) (conditioning

 the confirmation of a plan on it having been “proposed in good faith and not by any means

 forbidden by law”). Additionally, because a debtor’s inability to effectuate the consummation of

 a confirmed plan constitutes cause to dismiss a bankruptcy case (11 U.S.C. § 1112(b)(4)(M)), it

 follows that a debtor’s inability to propose a confirmable plan should also be considered cause

 for dismissal.

        22.       The States intend to object to any plan that would limit their ability to pursue

 governmental and regulatory claims against non-debtor third parties arising out of talc-related

 injuries. LTL’s current proposed plan indisputably contemplates such injunctive relief.

 Accordingly, LTL is currently unable to propose a confirmable plan, and, for that reason, the

 LTL 2.0 petition must be dismissed, and any resolution of the States’ claims against non-debtor

 third parties must be addressed outside the context of an LTL bankruptcy case.

        23.       In sum, the States submit that the LTL 2.0 petition was demonstrably filed in bad

 faith and patently was not the type of bankruptcy filing that could have been within the

 contemplation of the Framers of the Constitution at the time the Bankruptcy Clause was ratified.

 The terms of the proposed plan outlined at the April 18th Hearing amply demonstrate the affront

 to state sovereignty, particularly state sovereign immunity occasioned by the LTL 2.0 filing.

 Under the circumstances, it is submitted, this Court must dismiss the LTL 2.0 petition.




                                                   13
Case 23-12825-MBK         Doc 480 Filed 05/10/23 Entered 05/10/23 19:54:41             Desc Main
                                 Document    Page 14 of 14



                                               NOTICE

        24.     Notice of this Motion was effectuated by serving copies of the within Motion

 upon the following: (i) Jones Day, 2727 N. Harwood Street, Dallas, TX 75201 (Attn: Gregory M.

 Gordon, Esq., Dan B. Prieto, Esq., and Amanda S. Rush); (ii) Wollmuth Maher & Deutsch LLP,

 500 Fifth Avenue, 12th Floor, New York, NY 10110 and 90 Washington Valley Road,

 Bedminster, NJ 07921 (Attn: Paul R. DeFilippo, Esq. and James N. Lawlor, Esq.); (iii) the Office

 of the United States Trustee for Region, One Newark Center, Suite 2100, Newark, NJ 07102

 (Attn: Jeffrey M. Sponder, Esq. and Lauren Bielskie, Esq.); (iv) Genova Burns LLC, 110 Allen

 Road, Suite 304, Basking Ridge, NJ 07920 (Attn: Daniel M. Stolz, Esq., Donald W. Clark, Esq.,

 and Gregory S. Kinoian, Esq.); (v) Brown Rudnick LLP, Seven Times Square, New York, NY

 10036 (Attn: David J. Molton, Esq. and Michael S. Winograd, Esq.); and (vi) all parties having

 formally requested notice in these proceedings via the Court’s CM/ECF System, and all other

 creditors via first class mail, postage pre-paid.

        WHEREFORE, the States respectfully request that, pursuant to 11 U.S.C. § 1112(b),

 this Court dismiss the LTL 2.0 petition as having been filed in bad faith.


  Dated: May 10, 2023                                GIBBONS P.C.
         Newark, NJ
                                                     By: /s/ Robert K. Malone
                                                     Robert K. Malone, Esq.
                                                     David N. Crapo, Esq.
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                                                     14
